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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION


VANESSA GIAMBRONE                                 CASE NO. 3:21-CV-00596

VERSUS                                            JUDGE TERRY A. DOUGHTY

POLICE JURY OF JACKSON PARISH                     MAGISTRATE JUDGE PEREZ-MONTES

                               JUDGMENT OF DISMISSAL

       Considering the foregoing,

       IT IS ORDERED, ADJUDGED, AND DECREED that the Joint Motion for Dismissal

(styled “Joint Stipulation of Dismissal”) [Doc. No. 10] is hereby GRANTED. Plaintiff’s claims

against Defendant are DISMISSED WITH PREJUDICE, with each party to bear its own costs

and attorneys’ fees.

       MONROE, LOUISIANA, this 20th day of July 2021.




                                                           TERRY A. DOUGHTY
                                                      UNITED STATES DISTRICT JUDGE
